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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA _ : Case No: 5:21-CR-41 (CJN)

40 U.S.C. § 5104(e)(2)(G)
(Parading Demonstrating, or Picketing in

ve ; a Capito] Building)
BRADLEY RUKSTALES,
Defendant.
STATEMENT OF OFFENSE ‘

 

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of ‘Columbia, and the defendant,
Bradley Rukstales, with the concurrence of his attorney, agree and stipulate to the below factual
basis for the defendant’s guilty plea—that is, if this case were t6 proceed to trial, the parties
stipulate that the United States could prove the below facts beyond.a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The United States Capitol, which is located at First Street, SE, in Washington, D.C.,
is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the extetior plaza of the Capitol was closed to members of the

public.

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3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting in separate chambers of the Capitol to certify the vote
count of the Electoral College of the 2020 Presidential Election, which had taken place on
November 3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police: Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly

after 2:00 p.m., individuals in the crowd forced entry into the Capitol, including by breaking

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windows and by assaulting members of law enforcement, as others in the crowd encouraged and
assisted those acts. Theriotresulted in substantial damage to the Capitol, requiring the expenditure
of more than $1.4 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members ofthe United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the
Congress, including the joint session, were effectively suspended until shortly after 8:00 p.m. the
same day. In light of the dangerous circumstances caused by the unlawful entry to the Capitol,
including the danger posed by individuals who had entered the Capitol without any security
screening ot weapons check, Congressional proceedings could not resume until after every
unauthorized occupant had left the Capitol, and the building had been confirmed secured. The
proceedings resumed at approximately 8:00 p.m. after the building had been secured. Vice
President Pence remained in the Capitol from the time he was evacuated from the Senate Chamber

until the session resumed.

Rukstales’s Participation in the January 6, 2021, Capitol Riot
8. Rukstales traveled from I1linois to attend the rally the former president, Donald
Trump, planned to hold in Washington, D.C., on January 6, 2021. On that date, Rukstales

eventually made his way to the Capitol.

9. Shortly after 2:30 p.m., rioters who had breached the Capitol confronted U.S.
Capitol Police (“USCP”) officers in the Capitol Crypt. Some rioters threw chairs and hurled
unknown substances at the officers. Video surveillance captured USCP officers retreating from
the Crypt down a flight of stairs and escalators to the Capito! Visitors Center (“CVC”), which is

also part of the Capitol building, while chairs tumbled down the stairs behind them. The officers

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then drew back toward the end ofa corridor in the CVC to form a defensive line. Moments later,
Rukstales descended the stairwell, picked up one of the chairs at the bottom of the stairwell, and
threw it in the direction of where the officers hadretreated downthe corridor. By then, the officers
were dozens of feetaway from Rukstales and were notin danger of beinghit by the chair he threw.

10. Rukstales proceeded downthe corridor closerto where the officers had formed ther
line. The officers issued commands for therioters to leave the building. When rioters refused, the
officers began arresting individuals who had unlawfully entered the building, including Rukstales.
A melee ensued. At one point, an officer brushed up against Rukstales from behind, and
Rukstales’s arm stretched out in the officer’s direction. The officer immediately turned around,
brought Rukstales to the ground, and he and another officer dragged Rukstales behind their
defensive line to be arrested.

11.  Rukstales knew at the time he entered the Capitol that he did not have permission
to enter the building and he paraded, demonstrated, or picketed inside the building.

Respectfully submitted,
CHANNING D: PHILLIPS

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By:  /s/ Seth Adam Meinero
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DEFENDANT’S ACKNOWLEDGMENT

J, Bradley Rukstales, have read this Statement of the Offense and have discussed it with
my attorney(s). I fully understand this Statement of the Offense. Lagree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am | under the influence of anything that
could impede my ability to understand this Statement of {Hg Offense fully.

Date: S/ / [Zoz.} y
Bradley Hukstales

Defendant

  
 

 

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: Sf b Z| : le
enowitz, Hsq.

Attorney for Defendant

 

 

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